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                           EXHIBIT B
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Theodore Kittila

From:
Sent:                              Tuesday, July 25, 2023 2:19 PM
To:                                Theodore Kittila; William E. Green
Subject:                           USDC/DE 23-mj-274 USA v. Biden Previously filed documents


Hi Ted,

Following up on our recent telephone conversation, the woman who called was a Jessica Bengels and her phone number
is (646)465-0861. She said she worked with Theodore Kittila and it was important the document was removed
immediately or they could file a motion to seal. I do deeply apologize for all the confusion on our part. I have put the
rest of the Clerk’s Office on notice that if someone is trying to do anything with the criminal or MJ case, they need to
contact me.
Again, very sorry for all the confusion.

Regards,

Generalist Team Lead
U.S. District Court for the District of Delaware
                        |Clerk’s Office: 302-573-6170




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